Case 2:22-cv-01527-DAD-AC Document 61-2 Filed 03/06/24 Page 1 of 6




                    EXHIBIT 1
 Re: ShastaCase  2:22-cv-01527-DAD-AC
            District Fair             Document 61-2 Filed 03/06/24 Page 2 of 6

ceo sdfeventcenter.com              < ceo@sdfeventcenter.com                >
Wed 6/29/2022 9:06 AM
To: Francesconi, Mike@CDFA <mike.francesconi@cdfa.ca.gov>
Hi Mike,

Please call my cell number                     -0058 when you call back. We have the phones forwarded since they
posted our number to instagram.

Thank you,
Melanie M Silva
CEO
Shasta District Fair & Event Center
Fair Dates June 22-25, 2022
         6789 ext 104
www.ShastaDistrictFairandEventCenter.com




From: Francesconi, Mike@CDFA<mike.francesconi@cdfa.ca.gov>
Sent: Tuesday,June 28, 2022 5:58 PM
To: ceo sdfeventcenter.com <ceo@sdfeventcenter.com>
Subject: Re: Shasta District Fair

Hello Melanie


I am checking with Michael Flores on how he would like you to proceed.                               I will let you know when I learn
more.


Thanks


Mike


Get Outlook for iOS


From: ceo sdfeventcenter.com <ceo@sdfeventcenter.com>
Sent: Tuesday,June 28, 2022 3:40:58 PM
To: Francesconi, Mike@CDFA<mike.francesconi@cdfa.ca.gov>
Subject: Re: Shasta District Fair

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Hi Mike,

She is not responding to either one of us. Should we involve CHP next?
Thank you, Case 2:22-cv-01527-DAD-AC                   Document 61-2 Filed 03/06/24 Page 3 of 6
Melanie M Silva
CEO
Shasta District Fair & Event Center
Fair Dates June 22-25, 2022
           -6789 ext 104
www.Shasta DistrictFa i rand EventCenter.com




From: Francesconi, Mike@CDFA <mike.francesconi@cdfa.ca.gov>
Sent: Tuesday, June 28, 2022 3:08 PM
To: ceo sdfeventcenter.com <ceo@sdfeventcenter.com>
Subject: RE: Shasta District Fair


Hello Melanie

Did BJ go out to pick up the goat?

Thanks

Mike

Mike Francesconi
Branch Chief
CDFA Fairs and Expositions
Ph (916) 900-5365
mike.francesco ni@cdfa .ca.gov




From: ceo sdfeventcenter.com <ceo@sdfeventcenter.com>
Sent: Tuesday, June 28, 2022 3:07 PM
To: Francesconi, Mike@CDFA <mike.francesconi@cdfa.ca.gov>
Subject: Shasta District Fair

~CAUTION : [External Email] - This email originated from outside of our CDFA organization. Do not click links or open      ~I
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Hi Mike,


I have included the response I sent her. I have also updated my Board Member


Thank you,
Melanie M Silva
CEO
Shasta District Fair & Event Center
Fair Dates June 22-25, 2022
           -6789 ext 104
www.Shasta DistrictFai rand EventCenter.com
              Case 2:22-cv-01527-DAD-AC Document 61-2 Filed 03/06/24 Page 4 of 6




From: ceo sdfeventcenter.com<ceo@sdfeventcenter.com
                                                  >
Sent: Tuesday,June 28, 2022 1:31 PM
To: JessicaDaum
Subject: Re:Requestingsolutionsfor the goat that was taken

Hello Jessica,

Thank you Jessica for taking the time to contact me regarding this issue. As a mother I am not
unsympathetic regarding your daughter and her love for her animal. Having said that please understand
the fair industry is set up to teach our youth responsibility and for the future generations of ranchers
and farmers to learn the process and effort it takes to raise quality meat.     Making an exception for
you will only teach out youth that they do not have to abide by the rules that are set up for all
participants. Also in this era of social media this has been a negative experience for the fairgrounds
as this has been all over Facebook and lnstagram, not the best way to teach our youth the value of
responsibility.    Unfortunately   this is out of my hands.


I have spoken with the California Department of Food and Agriculture and they have informed me
that for the good of all we have to stick to the State Rules. You will need to bring the goat back to
the Shasta District Fair immediately. I do hope you will continue with your idea of raising and
providing quality animals for the purpose you have spoken about. I support that whole heartly.
Obviously the fair experience is not the best for your family.

Thank you,
Melanie M Silva
CEO
Shasta District Fair & Event Center
Fair Dates June 22-25, 2022
         6789 ext 104
www.ShastaDistrictFairandEventCenter.com




From: JessicaDaum
Sent: Monday,June 27, 2022 5:41 PM
To: ceo sdfeventcenter.com<ceo@sdfeventcenter.com    >
Subject: Requestingsolutionsfor the goat that was taken

Dear Shasta County Fair Manager,
I am the mom who took my daughter's goat from the fairgrounds and wanted to explain myself and look for solutions with you. If we can't
              Case
come up with any other2:22-cv-01527-DAD-AC                   Document
                       solution, I will bring the goat back for slaughter. 61-2         Filed 03/06/24 Page 5 of 6

My daughter is 9-year-old and like most little girls she wants a horse someday. We hope to have land in the near future and hope that she
gets a chance to have a horse. We joined 4-H for the opportunity for her to learn how to care for livestock, as well as it being a great
opportunity for her to learn about where her food comes from and the effort it takes to raise quality meat products. Our 4-H leader said that
we could keep the goat on his property since we live in a residential neighborhood and couldn't keep it at ours. Every afternoon since the
beginning of April, she fed her goat and walked it, and practiced bracing. At first the goat ran from her and she didn't like her goat. A few
months later he was running up to the gate to see her and she was walking him around like a dog.


I wouldn't have signed her up for the project if I thought she'd get attached. I thought the goal was to feed the goat, and that was about it. I
didn't know that showmanship was a part of 4-H until she got her goat and started working with it. It was that daily interaction that created
a bond that I wasn't expecting from a goat. Being brand new to 4-H we had so much to learn.


A few weeks before fair, I was told by another parent to send my daughter off to ride rides after the sale because all the goats and lambs
are put into one area before loading and start fighting because they aren't used to each other. This didn't sit right with me, and felt like I
would be deceiving my child. The point of our 4-H experience was for her to participate and learn how to care for livestock, not hide her
from ugly parts. On the last day of fair two of my forty-year-old friends retold their experiences of doing a pig one year each at fair. They
both said that it changed fair for them and they had sad memories. The theme of fair this year was Sunshine and Smiles, but there were a
lot of broken hearts and tears all over the fair barns.


A few weeks ago, when I learned that the goats are taken from their pens and loaded in a way that is upsetting for the animals and the
people watching, I started looking for another solution. We don't own land so couldn't keep the goat. I started asking people if I could give
the goat to them so we didn't have to sell it for slaughter.


I wasn't able to find a solution until the second day of fair. I had heard back from someone that I had emailed a few days prior. It was a farm
to donate my daughter's goat to where he would clear land for fire prevention. The farmer has contracts with CalFire, elementary schools,
and other important agencies. This resonated strongly with us as a beautiful solution since we moved here shortly before the Carr Fire and
almost lost our home to it. I asked people if we could leave fair and donate him to help support farmers that do brush clearing. They said it
was too late since we were already at fair. I spent the next several days pouring over the fair rules looking for a way out. I couldn't find
anything in the rules that said how to quit once we were at the fairgrounds.


The last night of fair at 9 pm, it was time to say her final goodbyes. My daughter sobbed in her pen with her goat. It was heart breaking.
Like my friends who had only done a market animal once, I knew that this was our last time doing a market animal. The barn was mostly
empty and at the last minute I decided to break the rules and take the goat that night and deal with the consequences later. I knew when I
took it that my next steps were to make it right with the buyer and the fairgrounds.


I have communicated with the buyer, Senator Brian Dahle's office. They bought the goat to support the community and are okay with the
alternative solution of the goat getting to be donated to a farm that does weed abatement. They said they were told that it's up to the fair,
who has said that it has to be brought back and slaughtered.


Our daughter lost three grandparents within the last year and our family has had so much heartbreak and sadness that I couldn't bear the
thought of the following weeks of sadness after the slaughter of her first livestock animal. Please help find a solution that is a happy ending
for my daughter and for our community.


I can understand that you have to pursue this situation in a way that discourages others from doing what I did. But, please also think of
what positive changes can be made for the kids. The 4-H pledge says to lead with your head and your heart. Our head and hearts told us
that our animal would be important and beneficial to use the animal for fire clearing. We didn't join 4-H to make money, and we didn't take
him for any monetary reasons. We just want to give him to a farm that does fire clearing and to make things right with the fair.


I will pay you back for the goat and any other expenses I caused. I would like to ask for your support in finding a solution. I have been
inspired to start a goat program where kids can raise goats and donate them to farmers who run fire clearing teams. So many kids were
disappointed atCase    2:22-cv-01527-DAD-AC
               fair when                                   Document
                         their goats didn't make weight, and some enjoyed61-2     Filed
                                                                          raising the     03/06/24
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 I didn't fully understand that there are terminal and non-terminal fairs and that at some fairs kids have to kill the goat that they just spent 3
months or more working with and training daily, while at there are other solutions at a non-terminal fair. I am so thankful for meat and
farmers, but I am also inspired to help our youth support farmers who do fire clearing for our communities. I hope that Shasta County
District Fair will make changes to let our kids have a non-terminal options.


The live stock manager has been in contact with me and is threatening to have me arrested for a felony of stealing livestock unless I return
the goat for slaughter immediately. I am asking for your grace, forgiveness, and support in creating another solution and making positive
changes for the future to support solutions in clearing land to prevent fires.


If the only solution is to return the goat for slaughter and bbq meat, then I will return it so that I am not charged with a felony. I hope that I
will gain your support to donate our goat to a fire clearing team and to provide another valuable farming solution for our kids that care for
livestock.


Thank you so much again for supporting our 4-H kids and our farmers. Thank you for considering helping me find a solution to prevent my
daughter's broken heart, a way to support fire management efforts, and to give other kids other options .


Sincerely,




Jessica Long
Mother of
Shasta District Fair goat lot #132




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